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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA                                    '2015 f'.I:.~ I 2 ~'" 3: 00
               UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                    V.                                         (For Offenses Committed On or ,,\Mr Novetnbed,'1§~7).,,;!,
                 SCOTT ALLAN MYERS (01)
                                                                                  Case Number:         14CR3276-AJB       1it!         "l' W



                                                                               David L Baker
                                                                               Defendant's Attorney
REGISTRATION NO.                    48506298
1Zl Modification of Supervision Conditions (18 U.S.c. § 3563(c) or 3583(0))
THE DEFENDANT:
1Zl pleaded guilty to count(s)             One of the Information

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                  Count
Title & Section                        Nature ofOffeuse                                                                          Number(s)
8 USC 1324(a)(I)(A)(ii)                Conspiracy to Transport Illegal Aliens                                                       1




    The defendant is sentenced as provided in pages 2 through                             5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                                           dismissed on the motion of the United States.
           ---------------------- is
o Assessment: $100.00 - Remitted

1Zl   No fine                     0 Forfeiture pursuant to order filed                                                     , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                 ON. ANTHONY J. B
                                                                               UNITED STATES nIr(,~



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                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
o     The court makes the following recommendations to the Bureau of Prisons:




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o at _ _ _ _ _ _ _ A.M.                            on ______________________________________

      o     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons;
      o     on or before
      o     as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on   ___________________ to

at ________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        14CR3276-AJB
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o        substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other acceptable
        reasons;
    6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notil)' third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.



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                              SPECIAL CONDITIONS OF SUPERVISION



   1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.
   2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
   3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be
      grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
      searches pursuant to this condition.




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            (ADDITIONAL) SPECIAL CONDITIONS OF SUPERVISION

Be monitored for a period of _ _ 12_ months, with the location monitoring technology at the discretion of
the probation officer. The offender shall abide by all technology requirements and shall pay all or part of the
costs of participation in the location monitoring program, as directed by the court andlor the probation officer.
In addition to other court-imposed conditions of release, the offender's movement in the community shall be
restricted as specified below:


         You are restricted to your residence every day from _    to _ _. (Curfew)

         You are restricted to your residence every day from _ _ _ to _ _ _ as directed by the probation
         officer. (Cuifew)

     x   You are restricted to your residence at all times except for employment; education; religious services;
         medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
         obligations; or other activities as pre-approved by the probation officer. (Home Detention)

         You are restricted to your residence at all times except for medication necessities and court appearances
         or other activities specifically approved by the court. (Home Incarceration)


II




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